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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                    MEMORANDUM

Honorable Kimberly J. Mueller                 RE: Tony Nhiachong Khang
United States District Judge                      Docket Number: 0972 2:13CR00163-001
Sacramento, California                            PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Tony Nhiachong Khang is requesting permission to travel to Mexico. Tony Nhiachong Khang
is current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date: On May 21, 2014, Tony Nhiachong Khang was sentenced
for the offenses of Bank Fraud, Aggravated Identity Theft, and Felon in Possession of
Ammunition.


Sentence Imposed: 24 months as to Counts 4 and 33, to run concurrently, and 24 months as to
Count 9, to run consecutively to each other, for a total term of 48 months imprisonment;
60 months TSR as to Count 4, 12 months as to Count 9, and 36 months as to Count 33, all to run
concurrently, for a total term of supervised release of 60 months.


Dates and Mode of Travel: March 25-31, 2018


Purpose: Vacation cruise with family




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                                                                                                    REV. 03/2017
                                                                     TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Tony Nhiachong Khang
         Docket Number: 0972 2:13CR00163-001
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,




                                       Sara Gnewikow
                              Sr. United States Probation Officer

Dated:     August 28, 2017
           Sacramento, California
           SG:cd


REVIEWED BY:                 /s/ Garey R. White for
                           George A. Vidales
                           Supervising United States Probation Officer



                                ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved

DATED: August 30, 2017.



                                              UNITED STATES DISTRICT JUDGE




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                                                                                                   REV. 03/2017
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
